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                                                                MP

                                                        Apr 2, 2024

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        (a)       To knowingly transport, transmit, and transfer monetary instruments and funds

 from a place in the United States to or through a place outside the United States and to a place in

 the United States from or through a place outside the United States, with the intent to promote the

 carrying on of a specified unlawful activity, in violation of Title 18, United States Code, Section

 1956(a)(2)(A);

        (b)       To knowingly engage in a monetary transaction affecting interstate and foreign

 commerce, by, through and to a financial institution, in criminally derived property of a value

 greater than $10,000, such property having been derived from specified unlawful activity, in

 violation of Title 18, United States Code, Section 1957; and

        (c)       To knowingly conduct, control, manage, supervise, direct, and own all and part of

 an unlicensed money transmitting business, as that term is defined in Title 18, United States Code,

 Section 1960(b), by transferring funds within this country, on behalf of the public by any and all

 means including by wire, check and couriers, which affected interstate and foreign commerce, and

 which (i) was operated without an appropriate money transmitting license in a State, that is,

 Florida, where such operation was punishable as a felony, (ii) failed to comply with the money

 transmitting business registration requirements under Section 5330 of Title 31, United States Code

 and the regulations prescribed thereunder, and (iii) otherwise involved the transportation and

 transmission of funds that were known to the defendants to have been derived from a criminal

 offense and were to be used to promote and support unlawful activity; in violation of Title 18,

 United States Code, Sections 1960(a), (b)(l)(A), (b)(l)(B) and (b)(l)(C).

        It is further alleged that the specified unlawful activity is operating an illegal money

 transmitting business punishable under the laws of the United States.


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          All in violation of Title 18, United States Code, Section 1956(h).

                                           COUNTS2-12

                          Engaging in Transactions in Unlawful Proceeds
                                       (18 U.S.C. § 1957(a))

          Beginning in or around January 2018, and continuing until in or around April 2024, the

 exact dates being unknown to the Grand Jury, in Miami-Dade County, in the Southern District of

 Florida, and elsewhere, the defendants,

                                  PAUL OSWALD MORANI,
                                     a/k/a "Pablo Morales,"
                                  a/k/a "Pablo Lorenzino," and
                                 MARIA EUGENIA DELANNOY,
                                          a/k/a "Mery,"
                                         a/k/a "Margot,"

 did knowingly engage and attempt to engage in a monetary transaction affecting interstate

 commerce, by and through a financial institution, in criminally derived property of a value greater

 than $10,000, such property having been derived from a specified unlawful activity, and knowing

 that the property involved in the financial transaction represented the proceeds of some form of

 unlawful activity, that is funds derived from operating an unlicensed money remitting business.

               "4\PPROXIMAtE·
                    . D:AtE
      2        September 20, 2019 Wire Transfer of $112,119 from an account at Wells Fargo in
                                  the Southern District of Florida via New York to a Morgan
                                  Stanley Account ending in 3391.

      3         November 5, 2019      Wire Transfer of $511,671 from an account at Wells Fargo in
                                      the Southern District of Florida via New York to a Morgan
                                      Stanley Account ending in 8542.

      4          January 24, 2020     Wire Transfer of $600,000 from an account at Wells Fargo in
                                      the Southern District of Florida via New York to a Morgan
                                      Stanley Account ending in 8542.

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      5          March 11, 2020      Wire Transfer of $725,411 from an account at Wells Fargo in
                                     the Southern District of Florida via New York to a Morgan
                                     Stanley Account ending in 3391.

      6          April 23, 2020      Wire Transfer of $1,004,523 from an account at Wells Fargo
                                     in the Southern District of Florida via New York to a Morgan
                                     Stanley Account ending in 3391.

      7           June 25, 2020      Wire Transfer of $2,600,209 from an account at Wells Fargo
                                     in the Southern District of Florida via New York to a Morgan
                                     Stanley Account ending in 8542.

      8           June 29, 2020      Wire Transfer of $1,000,000 from an account at Wells Fargo
                                     in the Southern District of Florida via New York to a Morgan
                                     Stanley Account ending in 8542.

      9        September 2, 2020     Wire Transfer of $553,250 from an account at Wells Fargo in
                                     the Southern District of Florida via New York to a Morgan
                                     Stanley Account ending in 3391.

     10         October 16, 2020     Wire Transfer of $1,088,438 from an account at Wells Fargo
                                     in the Southern District of Florida via New York to a Morgan
                                     Stanley Account ending in 3391.

     11           May 11, 2021       Wire Transfer of$1,962,000 from an account at Citibank in the
                                     Southern District ofFlorida via New York to a Morgan Stanley
                                     Account ending in 8542.

     12           June 4, 2021       Wire Transfer of $200,000 from an account at Citibank in the
                                     Southern District ofFlorida via New York to a Morgan Stanley
                                     Account ending in 8542.

          In violation of Title 18, United States Code, Sections 1957(a) and 2.

                                  FORFEITURE ALLEGATIONS

          1.     The allegations of this Indictment are re-alleged and incorporated herein for the

 purpose ofalleging criminal forfeiture to the United States ofAmerica ofcertain property in which

 the defendants, PAUL OSWALD MORANI, a/k/a "Pablo Morales," and a/k/a"Pablo

 Lorenzino," and MARIA EUGENIA DELANNOY, a/k/a "Mery," and a/k/a "Mergot," have

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 an interest.

         2.       Upon conviction of a violation of Title 18, United States Code, Section 1956 and/or

 Section 1957, as alleged in this Indictment, the defendant so convicted shall forfeit to the United

 States of America, pursuant to Title 18, United States Code, Section 982(a)(l), any property, real

 or personal, involved in such violation, and any property traceable to such property.

         3.       The property which is subject to criminal forfeiture includes, but is not limited to,

 the following:

                  (a)    All assets in account number 815-022483 held at Morgan Stanley in the

 name of Paul Oswald Morani seized pursuant to warrant on or about December 16, 2021;

                  (b)    All assets in account number 815-018542 held at Morgan Stanley in the

 name of Highluck Investment, Inc. seized pursuant to warrant on or about on or about December

 16,2021;

                  (c)    The real property known and numbered as 2201 Collins A venue,Unit 922,

 Miami Beach, Florida (Folio No. 02-3234-218-2370), together with all improvements,

 appurtenances, attachments,and fixtures thereon and therein; and

                  (d)    One (1) 2021 45'3" Nautitech 46 Catamaran (HIN: NAUN1387K021).




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET
                     PAUL OSWALD MORAN!
   Defendant's Name: ___________________________

   Case No: _______________________________

   Count#: 1
   Conspiracy to Commit Money Laundering

   Title 18, United States Code, Section 1956(h)
   *Max.Term oflmprisonment: 20 years
   *Mandatory Min. Term of Imprisonment (if applicable): N/A
   *Max.Supervised Release: 3 Years
   *Max.Fine: $500,000 or twice the value of the property involved

   Counts#2-12
   Engaging in Transactions in Unlawful Proceeds

   Title 18, United States Code, Section 1957(a)
   *Max.Term of Imprisonment: 10 years
   * Mandatory Min.Term of Imprisonment (if applicable): N/A
   *Max. Supervised Release: 3 years
   *Max.Fine: $500,000 or twice the value of the property involved

   Count#:




   *Max.Term of Imprisonment:
   *Mandatory Min.Term oflmprisonment (if applicable):
   *Max.Supervised Release:
   *Max.Fine:




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET
                     MARIA EUGENIA DELANNOY
   Defendant's Name: ___________________________

   Case No: _______________________________

   Count#: 1
   Conspiracy to Commit Money Laundering

   Title 18, United States Code, Section 1956(h)
   *Max. Term oflmprisonment: 20 years
   *Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max.Supervised Release: 3 Years
   * Max.Fine: $500,000 or twice the value of the property involved

   Counts#2-12
   Engaging in Transactions in Unlawful Proceeds

   Title 18, United States Code, Section 1957(a)
   *Max.Term of Imprisonment: 10 years
   *Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max.Supervised Release: 3 years
   *Max.Fine: $500,000 or twice the value of the property involved

   Count#:




   * Max. Term oflmprisonment:
   * Mandatory Min.Term oflmprisonment (if applicable):
   * Max.Supervised Release:
   *Max.Fine:




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
